           Case 2:02-cr-20052-RTD Document 99                                      Filed 07/20/10 Page 1 of 6 PageID #: 46

 csAO l45U      (Rcv. 0t/Ll8) JudgrncntiD a (irirrrinat(:ssc tor R,)vocntione
                ShcetI



                                         UrqrrenSr.r,rnsDrsrRrcrCounr
                         WH,SI.EItN                                      Districtof                                     ARKANSAS
          UNITED STATESOF AMERICA                                                 ,ItJI)CMENT IN A CRJMINAI, CASE
                                 v.                                               (For RevocationofProbation or SupervisedItelease)


               JIMMY DON R-ELEFORD                                                CascNumbcr:                       2;02CR2005?-001
                                                                                  IJSMNurnhcr:                      30087-l
                                                                                                                         r2
                                                                                  DavidDunaein
                                                                                  Defendirnr'rAll0rnEv
THn l)nFIlNDANTT
X            guiltto violstio d1'ddndition(s)
     adrnitted                              StandardCondition# l0                                   of theternrof supervisior,

n    wasfourrdin violationofcondition(s)                                                         alicr dcnialof guilt.
1hedefendant            guilt) ol lhcscviolations:
          is ttdjudicated


$!g1!q@bSr                         Nqtrrc of Vlolrtlon                                                                     l@!g!!qp43!g1!

Strrndard
       Cdndition#I 0               Ftilurcto MaintainAddlessfor [.].$.ItlobationOfficerI lonreV isit                        lal17/?009




       Thc defendantis sentencedas providedin pages? tlrough _lLof         thisjudElrflont.Thc scntcnocis inrposcdwithin thc
statutoryrangea d thr U,S. Scntcn{ringGuidclincswere consideredas advisory.

X    Thc dctcndant
                 hdsnot violatcdcondition(s)                    New l.aw Violation andis dischnrged
                                                                                                  nsto suchviolation(s)
                                                                                                                      condition.

          It is orderedthrrtthedefendant   rnustnotilv thc UnitcdStatesattorDev   for this districtwirhin30 davsofarrv
chrngcol-nnnrc,    rcsidcncc, or mailingaddress   until all fines.restitution.
                                                                            costi.andsoecinlassessfirents  irr)drlsed
                                                                                                                    bv'thisiudernenr
                                                                                                                                  rre
fttlly paid, llotdered to pay reltituriun. thc dclcndantmust notifl the cout and l-lniied Statesattorneyof material-chanies   in
ccoltonllcclrcu]llslances.

Defel)dn[t's
           Soc.Sec.No.       xxx.xx.87?l                                          Julyll, tol0
                                                                                  Drt{ ot hnpositionaf.ludEmqnt
Dqt,indsnt
        i Df,tcofBirth:      xK/xx,/1965
                                                                                y'_/S/RobcrtT. Dawson
                                                                                  SignstLrrc
                                                                                           of Judgc
                  (E Addrus!.
Defendnot'sI(e$idefl

YYYYYr.YYYY

Folt Snrith.Al{ 7:901                                                             HonorablcRobertT- I)awson,United StatesDistrict judee
                                                                                  Na[]eindTitleofJudBe

                                                                                  Trrlvtd rtl1A

Lrcfundrnt's Mailing Arldrcss:

$ame as ahove
                                                                                                           U.S.DISTFICT
                                                                                                                     COURT
                                                                                                         DFIEH ARMNSAS
                                                                                                    WE$TERN

                                                                                                                  JUL2 0 2010
                                                                                                                       R.JOIiNSOI{,
                                                                                                                  CTIBIS        CLEAK
                                                                                                      Et.,,i:
                                                                                                                  . '         flfBK
                                                                                                                         DEPUTY
        Case 2:02-cr-20052-RTD Document 99                            Filed 07/20/10 Page 2 of 6 PageID #: 47

                          cnt in s (:riminFlCf,salbf Rcvocntions
AO 24511 (REv.0'l/08).ludsm
         Sheett lrrprilonmrnt
                                                                                                  Jud8r errl -      PsEc 4                  of
I)FFENDAN']': JIMMY DON RELEFORD
CA$ENUMtsER: ?;0?CR?005?-001

                                                        IMPRISONMENT
        'l
          he defendantis herebycornminedto the custodyofthe Uflited StfltesBuresuof Pris,rnsto be imprisor)edfor a totnl
total tenn of:     tlme served. Defendrrnthrrsbcdn in dusiodysinocFcbruary8, 20 l0




   fl   lhe courtmakesthe followincreconlnendfltions
                                                  to theBureaudfPrisorrs:




   X    Thc dcl'cndantis rcmafldcdk) thc oustodyofthc [.lnitcdStatcsMarshal-

   !    The defendantshall surrenderto the LJnitedStatesMarshalfor this district:

        [.]   at                              !     n,m. n p.n.         dn
        n     r$ r)otitledby theUnitedStfltesM rshal.
        'l'he
   E         defendant
                    shallsurrender
                                for serviceofsentence
                                                    at theinstitutiondesign*ted
                                                                              by theB reauofPrisons:

        fl    hefore2 p-nr,on

        n     usnotilicd by thc [Jnitcd Statc$Marshal.

        !     asnotilied by the Probfitidnor Pretrial ScrviccsOllicc.

                                                              RETURN
I huvccxccutcdthisjudgmcntas lbllows:




        Detindnntdelivered
                         on

                                                  with a cenified copy ofthis judgrnent.




                                                                                              I J N I ' I T J )S T A ' I H SM A R S H A L



                                                                     By
                                                                                                          STATESMAR:iHA],
                                                                                           T'EPIJTYTINITF,T}
                Case 2:02-cr-20052-RTD Document 99                         Filed 07/20/10 Page 3 of 6 PageID #: 48

A0 ?45D                              in o (:nrnnral Cnsefor Revo rtion:l
                  (Rev.09/0$)JLrdgmcnt



r)r-.f,FTNDANT: JIMMY I)ON RELEFORD
(]AiiHNL]MBER: 2:02CR2005?-001
                                $I.JPERVISED RELEASE

llpon releasefronr imprisdnmcnt,the defendantshflll be on supcrvisedreleasefor a tcrm of:                thlrty-onc (31) monthlt




       The defendxntlnusl repdrtto the probationollice in thc district to which the delendantis releasedwithin 7? hoursdl rcloancfrorn
thecustodvo1'theBrucauofPrisons,
Thc defendaltshallrlot commit aD$therfederal.sttte or local crime,
Thc dctcndantshall not unlawfrrllvpossessa controlledsubstaflcc.The defendontshnll reliuin tiorn any unlawful useofs cdnlrollcd
substance.T[redclcndantshall subinit to onc drug test within l5 daysof rrlcasefrorn imprisonrnentanil flt lcasttwo periodic drug tesls
thcrcafterasdeterminedby lhc court-
fl          Thc abovednrg testilg condition is suspended,bssedon thc coud's determiflstionthRtthc defendantposesa low risk of
                             abrrse.(Check,if rpplicablc.)
            fuhlre substrrfloc
X           l he defendrrnt                                                                                   weflpon, (Chcck,ifapplicable,)
                          shall not poss€ssa fi re8fl , thmunitiorr, destructivedevicc.or any oiher darrgerolrs

!           The dclbndantshallcooperfltein thc oollcotionof l.)NA fis dircotcdby the probatior)otficdt, (Chcck,ifapplicable.)
            '[
n              he defendrrntshallrcgisterwith the stfltetscxofferrderregistrationagtncy in the statewherethe dcfendantresides,works,
            or is a student,ts dircotcdhy the prob$liofiolfiocr- (Check,ifapplicablc.)
fJ          The delcndantshallpafiicip0tein Hnapprovedprogranrfor domcsticviolence. (Check,il'applicable.)
       If thisiudgnrentinlposcsa fine ot restitution,il i$ bc a conditionof superuiscdrclcasethat the defendanlpay in accordance
                                                                                                                               with
the Schedulcof Painrentsslieetof thisjudgment.
                     nrustcolnplywith thc Btandard
         Thc dcfcDdant                           conditionslhflt hflvcheenadoptedby this courtaswcll aswith artyfldditionalcdnditions
on thc attachedpage,

                                            STANDARD CONDITIONS OI' $TJPERVISION
      l)                shalldot lcavethejudicid distriotwithouttheperrnission
             ihe defendant                                                   ofthc courtor probatiorofficer;
     2)      thedefendantshallreportto the probationollicer rnd shallsubmita truthl'uland coDrFletewritten reportwithin thc fir$t five daysof
             Eflth monlhl

     3)      the delbrldantshall answertnrthfully all incluiriesby the probatiotroflicer and follow the inshudtionsofthe probationofficerl
     4)      the delendflntshall supporthis or her dependcntsand meetother fan ly rcsponsibilities;
     5)      thc defendantshall work regularlyat a lawfrrl occupatidn.unlessexcusedby the prrlbHtionoflicer for schooling,lririninH.or othcr
             acceDtahlereBsods;
     6)      the delcndantshallnotiiy the probationotficer at leastten dirysprior to any changein residenceor cmployment;
     7)'     thedefendant shallrcfrainfrom excessive uscofalcoholandshallnot purchase.   lossess,use.djstribute,             any
                                                                                                                 or adnrinister
             controlledsubstanceor ilny paraphernaliarelatedto HIv controlledsubitances,eicept as prcscribedby a physician;
     8)                   shall not frequentplaccswhcre controlledsubstanctsarc illegally sold, used,distributcd,or administered;
             the del'endant
     9)'     lhe dclcndantshall not rissociatewilh any personsengflgedin crirninalactivity and shall not ansociatewith any personconvictcdol'
             a felory, rr lessgrantcdpennissionto dd so by the pbbiationoflicer;
    l0)      rhedefendaltshallpcrmit a probationotlicer td yisit hinr or her at flny tirneHthomcor elsewhereandshnllpernritconliscatiortofatry
                                in plaiit view ofthc probationofTicer;
             collrirbandobscrveiC
    I l)     fhedefendantshflllrotity thc Frobationoflicer within scvcnty"twohoursofbeing arrcstcdor questionedby rrlaw enlbrocnrcnt
                                                                                                                                   officer;
    l2)      thd dcll'ndantshall not enterinto any agreernentto act Elsirn intt)nncror a specialage t ol a llrw cntirrcerrentagencywithdut lhc
             De lllsslonol tne coun: ano
    t 3't    nsrlircrtcrtuv the nrobationoflicer. rhcdcl-endant
                                                             shallnotifv rhirdDartresof risksthot rna\ beoccirironedhv the defendant'scrifirinrrl
             recordor Deisonalhistory or charhcteristicsand shall perriritthe'Drdbationotficer to niake such dotificationsand to confirnt the
             defendant'scomplianccwith suchnotificatiodrcquirenient,
            Case 2:02-cr-20052-RTD Document 99                          Filed 07/20/10 Page 4 of 6 PageID #: 49

AO 24JI)     (REv.09/08) JudEmcnt'D f, Cfiminnl Cnsefor REvoc+rtrcns
             Sheet3C    SuFErvis€dRElEsrc
                                                                                                     Judgnrcnt-PBgc _4       of       d
I)F:IF]NDANT:              JIMMY DON RF:t.F]I.'ORD
C A S I IN U M l J L ] R ; ?:0?CR20052-001

                                         SPECIAL CONDITIONS OF SUPERVI$ION


           Thc dclcndantshallsubmithis person.residcncc.placcofenrDloyment.        nnd vchjclc to a scarchconductedbv rhe Urlittd Sl tcs
           ProballonOffice al fl rtasonablctime and in a reajonnblemrLrincibuscdunonleasonalrle      susoiricrnol cvidcrjccol-violationof arl
           ccrtditionol'supcrviscdrclease.I he defertdont    shull,wamany otherresididt! thrrlthcir prcnriscsnraybe subjectto searchpursun-nt
           L{Jtnrsconorlroll-lallure to suLrfiltl() rLscitrchlnay DeErouncslor revoe tlor..
2.         In rldditionto thr mflndatorydrua IeslirtEre{uircmcnts.thc defendantshallcdmply with anv rcfen-aldeerledant)ror)riattb} lhc
           US, ProbrtioDOfficer for in-palientor out-dnticntevaluation,treattnent,cr-rLrnsiling
                                                                                             or tcstingfor suhsrance
                                                                                                                   ablrse;including
           unnflty$lslor lcstlngpurposes,
               Case 2:02-cr-20052-RTD Document 99                                       Filed 07/20/10 Page 5 of 6 PageID #: 50
    AO 2,15D   (Rcv 0s/08)JndEnrent
                                 irl n Crihind Curclor Rcvoc$nlns
               ShEct5 -tjriminEl   Morctary Fcr8llies
                                                                                                                  Judgnrcnt- PEgc             o   f    6

DT]Fh]NDNNT;                                  tol tl,LEron rr
                                     ittr,ltrav
L]ASENUMBER:                         2:02CR200.52-001
                                           CRIMINAL MONE'I'ARY PENALTIES

      Thc defendantnrustpay the following total criminal nronctarypcnaltiesuDderthe scheduleof paymentssetfofih on Sheet6,


                        As8es6ment                                                Elss                                  Rcatltutlon
TO1 ALS             $ -0-                                        $ 2000.00+                    $ -0-
                                                        +Balance
                                                              owcdon originallineis $ I,86?.66

n     The deterffinstionol'rcstitutionis deferreduntil                                     Jud+nrentin a (Li
                                                                                 An Amende.d                          inal (,dre(,4()245(:)will be entered
      aftcr suohdetenrrination.

n     Thc dcfcndantshallmakerestitution(ilrcludingcdffffrnity rc$titution)to the foliowing payeesin the i nount lisled below,

      lfthe dcfendantrnakesa Dartiolt)avtnedt.eachDtrvscshallreceivean annroxilnatelyDroDortioned oavffient.unlcssspccilicdothcrwiscin
      the.priority.orderqr perclntagc'irayDrentcoluninbelow. ltouever, pLrisuant
                                                                               r{JlE-tJ.S.C-$ 366a0),'all noirfederalvictinrsrnustbe pflid
      DCIOTC lle t lnrleo Slatesls oalo,

Nqtrreaf l'ffycc                                Totnl Loss*                              ll€.stitution ()rdficd                     Priority or Percentqlle




T'O'TAI,S


n      l{estitutionflmountorderedpursuafltto plca agrcenrent $

n      The dclcnddntnrustpay intereston restitutionor a fine more thah$2,500,rrnlcssthe restitutionor fine is Paidin full beforethe
       fifteenthdayBllcrthe dateofthejudgmel)t,pursuant    to 18 L'.S.C.$3612(1J.All ofthe paynrentoptioDson Sheet6 may be
       subjectto perHltiesfdr delidqucnoyand default,pursuantto l8 U.tj.tl. g 3612(g).

X      Thc court detenniredthat the defendrlt doesnot hdvc thc ahility to pay interestand it is orderedthat:

       X   thc intcrcstrcquirementis waived forthe               X       lifle      E    rostitution.

       !   thc intcrcntrcquirementfor tle           n     fine       I       rdstitutionis modificd as fol]ows:



* Findingsl-rrrthetotal amountof lossgq
                                      lre ryqtriredundcrChaptcrs109A,| 10,I l0A, and I l3 A of I itle l8 for offensesconttnittedon or aller
Septernb?r ll, 1994,but bcfbrcApril 23. 19a6.
            Case 2:02-cr-20052-RTD Document 99                             Filed 07/20/10 Page 6 of 6 PageID #: 51
AO ?45D      (ttev.09/08)Judg redtin a CriminulCssctbr Rcvocstxrns
             Shccl6- Schedule  otFf,ymete
                                                                                                         Judgm{nt -   Pflgc   6     ol        6
DETENDANT:                  JIMMY DON RELEFORI)
cA;(ir-lNUMfrFlR:           2:0?CR?005?-001

                                                     SCHEDULE OF PAYMENTS

              thc dcfcndant'sability to pay, paynrentofthe total crjnritralmonetarypeddltidsshrrllbc duc ns lollows:
Having nsscsscd

A     f,   Lumpsumpaymcntof$                                    dueimmediately,
                                                                             balance
                                                                                   due

           [:]   not latcr thaD                                    ,ot
           X     in dcoordanccwith    tr   C,    !    l),   !     I, or    X I beldw); or
B     l:                              (maybd cd bincdwith
           Payrrentto beginirnnlediately                                  nC,        n D,or       flI   below)ior
(:    IJ   Paymcntin {rqual _             (e.g,,weekly, rnonthly,quartcrly)instdllnrentsof $                   over a periodof
                       (e.9.,rnonthsor years),to cdfirmcnsc _           (".g., 30 or 60 days)after the dateof th isjudgnlenti or

D     I    Paymentin equal .--*-           (d.9.,weckly, nronthly,quarterly)installm€ntsof $ _                  over n periodof
                        {e.E!.,monthsor ycars),to connrrence_            (e,9,,30 or 6U dflys)flffer feleme fron imptiso ment td n
                                or
           tdrft oi'suporvici(Jn;

      n Payrnentduring thc tcrm ofsupcrvisedreleasewill commencewithin _                (e.9,,30 or 60 d[ys) irllcr rclcnsciiour
           irnprisdnrnet, The dour(will sct thc paymcntplarrhasedon an assessnrent
                                                                                ofthe defendant'sability lo pfly,
           Specirl instruotionsrcgurdingthe paymemtofcrinrinal rnonetarypennlties:
           lfnot pnidimmcdirtcly.    nnyrurpaidfinancialnenaltvirnnosed                                                flt ftltcol notlcjj
                                                                          shallbe t)aiddurinslhe DeriodoI-incrlrccrllljon
           th n $25.00qudrtcrly.or l0% cifthe dcfendani'snuirrter'lvearninss,wliichcvcris-crcuti:r.Allcr incurccration. any unD id linanciul
           ncnahvshallbeconr€     a sDecial condirior)
                                                     ol'suoerviscd rclcoscrn muvbc naidin iironthlvinstallmcnrs ofnot lesirhahI09t,ofdre
           ilefendanr's netJnoJlthly hdusehdld   incomc,.butin no casclcssthan$!0.00pernronth,with rheenrirebalance    ro hepaidin frrllone
           rt)ortlnDIldrto lne tr'mllnfltlonol suDcraliiccl
                                                         rclease.


UnlessthecounhasexDressly    orderedotherwise ill thesDccial
                                                           instructioD above.ifthis iudsrrrertirnDosesinrDrisonment,
                                                                                                                  Dayrnent ofcrinrinal
monctarypcnalticsis lie due duringthe period of impriiontnent. All criffinffl monetafopinaliics, Lxccptth'oscpaymcnisinadcthroughrhc
tederal Ilireau ofPrisons' hrmateTinaricialRcsponiibility Program,are madeto the cleik ofthe court:

Thc dctLndantshallreceivecredit for all paynlentspreviouslyrrsde loward flny crinrinalnronctarypenalticsinrposed.




E    Joi t fllld Severul

     l)efendantandCo-DefendflntNRmesfldd CascNumbcr$(includingdefeDdantnunrber),.loirrtand SeveralAmount andcorresponding
     paycc,ifappropriatc.




tr Thedefendantshallpaytle costofprosecution,
n Thcdcfbndantshallpaythefollowhrgcoudcost(s):
n 'l'hedel'endfit shallfotfeitthcdcfcndant'$interestin thefollowinBpropedyto the UnjtedStflt€s:

Paynrentsshnllbe npplieditt the following order:( l) asscssnrcnr,     (2 J restitutionprincipal,
                                                                                           'of (3) restitutjoninterest.t+) fine prirrcipnl,
(5) tnre nrterest,(6)tbrnrnunity restitutiotl (7) penfllties,and (8) cbits, includingcost fir'osecution   and court costs.
